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Attorneys for Plaintiff
Baker Hughes Oilfield Operations, Inc.

                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA


Baker Hughes Oilfield Operations, Inc.,                      3:17-cv-00140-SLG

                                                       NOTICE OF DISMISSAL OF ACTION
        Plaintiff,                                            BEFORE ANSWER
                                                             [F.R.Civ.Pro. 41(a)(1)]
v.


Ahtna Environmental, Inc.,
       Defendant.

        Plaintiff Baker Hughes Oilfield Operations, Inc. dismisses this Action pursuant to Federal

Rule of Civil Procedure 41(a)(1).

     July 10, 2017                                           Respectfully Submitted,



                                                             By: /s/ Erik LeRoy

                                                             Erik LeRoy, P.C.
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